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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 BUILDING SERVICE 32BJ HEALTH FUND, et :
 al.,                                                            :
                                                                 :   ORDER REGULATING
                                                                 :   PROCEEDINGS
                                                                 :
                                          Plaintiffs,
                                                                 :   20 Civ. 1185 (AKH)
              -against-                                          :
                                                                 :
                                                                 :
                                                                 :
 SECURAMERICA LLC,                                               :
                                          Defendant.
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 On October 16, 2020, I held a telephonic status conference in the above-captioned

matter. As discussed at the conference, this matter shall proceed as follows:


                 1. Defendant shall file any applicable pro hac vice motions on or before October
                    23, 2020.

                 2. On or before October 23, 2020, Plaintiffs shall serve Defendant with a table
                    showing applicable payment due dates, rates of interest, and amounts of
                    interest running from such dates.

                 3. On or before November 13, 2020, Defendant shall register any objections with
                    respect to the time of interest, the rate of interest, and the reasons for the
                    dispute.

                 4. On or before November 18, 2020, at 12:00 p.m., the parties shall submit a
                    joint letter to the Court via ECF describing any remaining disputes and the
                    reasons for such disputes. This letter shall also include the aforementioned
                    table.

                 5. The parties are directed to appear for a status conference on November 20,
                    2020, at 10:00 a.m. Prior to that date, the Court will notify the parties as to
                    whether such conference will be held in-person or telephonically.
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             6. Defendant’s time to answer or respond to Plaintiffs’ complaint in hereby
                enlarged to a time to be determined by the Court at the November 20, 2020
                status conference.



             SO ORDERED.

Dated:       October 16, 2020             _____/s/ Alvin K. Hellerstein________________
             New York, New York                 ALVIN K. HELLERSTEIN
                                                United States District Judge
